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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



CHARNJIT SINGH,

Plaintiff,


vs.                                                  Case No.:

AMERICAN CORADIUS
INTERNATIONAL, LLC,

Defendant.
____________________________/


                                         COMPLAINT


        1.     Plaintiff alleges a violation of the Fair Debt Collection Practices Act, 15 U.S.C.

1692 et seq. (“FDCPA”).

                                        JURISDICTION

        2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, 1337, 1367, and pursuant

to 15 U.S.C. § 1692 et seq. (“FDCPA”).

        3.     This action arises out of Defendant’s violation of the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and out of the invasion of Plaintiff’s personal

and financial privacy by this Defendant and its agent in its illegal effort to collect a consumer

debt from Plaintiff.

        4.     Venue is proper in this District because the act and transaction occurred here,

Plaintiff resides here, and Defendant transacts business here.



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                                               PARTIES

        5.      Plaintiff, CHARNJIT SINGH, is a natural person who resides in Union City, State

of New Jersey, and is a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

        6.      Defendant, AMERICAN CORADIUS INTERNATIONAL, LLC, (“ACI”) is a

collection agency operating from an address of 2420 Sweet Home Road, Suite 150, Amherst,

New York 14226, and is a “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).

        7.      Defendant ACI regularly uses the mail and telephone in a business the principal

purpose of which is the collection of debts.

        8.      Defendant ACI regularly collects or attempts to collect debts for other parties.

        9.      Defendant ACI was acting as a debt collector with respect to the collection of

Plaintiff’s alleged debt.

                                  FACTUAL ALLEGATIONS

        10.     Plaintiff incurred a financial obligation that was primarily for personal, family or

household purposes and is therefore a “debt” as that term is defined by 15 U.S.C. § 1692a(5).

        11.     Sometime thereafter, the debt was consigned, placed or otherwise transferred to

Defendant for collection from this Plaintiff.

        12.     Defendant sought to collect from Plaintiff an alleged debt arising from

transactions incurred for personal, family or household purposes.

        13.     The following third-party heard the message while at or visiting Plaintiff's

residence on one or more occasions: Plaintiff's friend, Ramesh Jain.

        14. Plaintiff did not authorize Defendant to communicate with the third-party.

        15. No court authorized Defendant to communicate with the third-party.




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        16. The third-party had no legitimate business need for the information communicated in

 the telephone messages.

        17. Defendant knew or had reason to know that the third-party had no legitimate business

 need for the information communicated in the telephone messages.

        18. The messages communicate information affecting Plaintiff's reputation.

        19. Defendant knew or had reason to know that persons other than Plaintiff may hear its

 telephone messages left at Plaintiff's residence.

        20.     After the initial correspondence with Plaintiff, Defendant has failed to send a

 letter to Plaintiff notifying him of his rights and privileges under the law.

        21.     Defendant has failed to provide any documentation detailing the purchases,

 payments, interest, and late charges, if any, thereby making it impossible for Plaintiff to

 determine whether or not he owes the alleged debt and whether the alleged debt was correctly

 calculated.

                                      COLLECTION CALL

        22.     In or about 2011, Defendant ACI’s collector contacted Plaintiff by telephone in an

effort to collect this debt, which was a “communication” in an attempt to collect a debt as that

term is defined by 15 U.S.C. § 1692a(2).

        23.     During at least one of Defendant’s attempts to collect a debt from Plaintiff,

Defendant or its agent left a voice mail message on Plaintiff’s answering machine identifying

itself as a debt collector.

        24.     Defendant repeatedly attempted to collect this debt with intent to harass Plaintiff.




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                                            SUMMARY

       25.     The above-described collection communication made to Plaintiff by Defendant

ACI, and a collection employee employed by Defendant ACI, was made in violation of multiple

provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692c.

       26.     The above-detailed conduct by this Defendant of harassing Plaintiff in its effort to

collect this debt was a violation of numerous and multiple provisions of the FDCPA, including

but not limited to all of the above mentioned provisions of the FDCPA, as well as invasions of

Plaintiff’s privacy by intrusions upon seclusion and by revelation of private financial facts and

resulted in actual damages to this Plaintiff.

       27.     Defendant’s disclosure of Plaintiff’s indebtedness to a third-party was an invasion

of his privacy and his right to financial privacy.

       28.     Upon information and belief, Defendant sought to collect a debt from Plaintiff

 despite the fact that it had no knowledge of its validity.

       29.     Defendant’s actions in attempting to collect the alleged debt were harassing, and

 highly deceptive.


                                         TRIAL BY JURY

       30.     Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues

so triable. US Const. amend. 7. Fed.R.Civ.P. 38.




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                                         CAUSES OF ACTION

                                                 COUNT 1

             VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                               15 U.S.C. § 1692 et seq.

          31.      Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

          32.      The foregoing act and omission of the Defendant and its agent constitutes

numerous and multiple violations of the FDCPA including, but not limited to, each and every

one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq., with respect to this

Plaintiff.

          33.      As a result of the Defendant’s violation of the FDCPA, Plaintiff is entitled to

statutory damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and,

reasonable attorneys’ fees and costs pursuant to 15 U.S.C. § 1692k(a)(3), from the Defendant

herein.

                                                 COUNT 2

          INVASION OF PRIVACY BY INTRUSION UPON SECLUSION AND BY
          REVELATION OF PRIVATE FINANCIAL FACTS TO A THIRD-PARTY

          34.      Plaintiff incorporates by reference all of the paragraphs of this Complaint as

though fully stated herein.

          35.      Congress explicitly recognized a consumer’s inherent right to privacy in

collection matters in passing the Fair Debt Collection Practices Act, when it stated as part of its

findings:

                Abusive debt collection practices contribute to the number of personal
                bankruptcies, to marital instability, to the loss of jobs, and to invasions of
                individual privacy. 15 U.S.C. § 1692(a) (emphasis added).



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        36.     Congress further recognized a consumer’s right to privacy in financial data in

passing the Gramm Leech Bliley Act, which regulates the privacy of consumer financial data for

a broad range of “financial institutions” including debt collectors albeit without a private right of

action, when it stated as part of its purposes:


              It is the policy of the Congress that each financial institution has an
              affirmative and continuing obligation to respect the privacy of its
              customers and to protect the security and confidentiality of those
              customers’ nonpublic personal information. 15 U.S.C. § 6801(a)
              (emphasis added).

        37.     Defendant and/or its agent intentionally and/or negligently interfered, physically

or otherwise, with the solitude, seclusion and or private concerns or affairs of this Plaintiff,

namely, by unlawfully attempting to collect a debt and thereby invaded the Plaintiff’s privacy.

        38.     Defendant also intentionally and/or negligently interfered, physically or

otherwise, with the solitude, seclusion and or private concerns or affairs of the Plaintiff, namely,

by unlawfully disclosing information about this debt to a third-party, and thereby invaded

Plaintiffs’ right to financial privacy.

        39.     Defendant disclosed Plaintiff’s alleged indebtedness to Ramesh Jain, who is

Plaintiff’s friend. Defendant knew or had reason to know that Ramesh Jain did not have a

legitimate need for the information.

        40.     The Plaintiff had a reasonable expectation of privacy in Plaintiff’s solitude,

seclusion, private concerns or affairs, and private financial information.

        41.     The conduct of this Defendant and its agents, in engaging in the above-described

illegal collection conduct against this Plaintiff, resulted in multiple intrusions and invasions of

privacy by this Defendant which occurred in a way that would be highly offensive to a

reasonable person in that position.

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                                              COUNT 3

          VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                              15 U.S.C. § 1692g

       42.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

       43.     Defendant violated §1692g of the FDCPA by failing to send written notification,

within five (5) days after its initial communication with Plaintiff, advising Plaintiff of his rights

to dispute the debt or request verification of the deft.

       44.     Defendant acted in an otherwise deceptive, unfair and unconscionable manner and

failed to comply with the FDCPA.

       WHEREFORE, Plaintiff requests that this Honorable Court enter judgment in favor of

Plaintiff and against Defendant for:


A)    Damages and

B)    Attorneys’ fees and costs

                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against the Defendant.


Dated: March 21, 2011                          Respectfully submitted,


                                               /s Andrew I. Glenn________________________
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